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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                               for the
                                                  Eastern District
                                                __________         of New
                                                            District       York
                                                                      of __________

                 BRADFORD PRIMAVERA                              )
                                                                 )
                                                                 )
                                                                 )
                            Plaintiff(s)                         )
                                                                 )
                                v.                                        Civil Action No.
                                                                 )
      ROCKET FINANCIAL INC., MICHAEL                             )
   SHVARTSMAN, IGOR MATROSOV, and ERIC
                                                                 )
                HANNELIUS
                                                                 )
                                                                 )
                           Defendant(s)                          )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Rocket Financial, Inc.
                                       21550 Biscayne Blvd, Suite 400
                                       Aventura FL 33180




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Anne L. Clark
                                       Vladeck, Raskin & Clark, PC
                                       111 Broadway, Suite 1505
                                       New York, New York 10006



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                             CLERK OF COURT


Date:
                                                                                       Signature of Clerk or Deputy Clerk
